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   United States of America
 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-115
12                                 Plaintiff,             STIPULATION REGARDING CONTINUANCE OF
                                                          SENTENCING; ORDER
13                           v.
                                                          DATE: October 20, 2016
14   KAY LEE,                                             TIME: 9:30 a.m.
                                                          COURT: Hon. Troy L. Nunley
15                                 Defendant.
16

17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for sentencing on October 20, 2016.

21          2.       By this stipulation, the parties now move to continue sentencing until October 27, 2016,

22 at 9:30 a.m.

23          3.       The parties agree and stipulate that this continuance will provide both parties additional

24 time to prepare for sentencing. The government requests this additional continuance to consider

25 additional anticipated information relevant to formulating its sentencing recommendation to this Court.

26          IT IS SO STIPULATED.

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      STIPULATION AND ORDER REGARDING CONTINUANCE         1
             Case 2:15-cr-00115-TLN Document 135 Filed 10/18/16 Page 2 of 2

     Dated: October 17, 2016                              PHILLIP A. TALBERT
 1                                                        Acting United States Attorney
 2
                                                          /s/ MATTHEW M. YELOVICH
 3                                                        MATTHEW M. YELOVICH
                                                          Assistant United States Attorney
 4

 5
     Dated: October 17, 2016                              /s/ GREGORY FOSTER
 6                                                        GREGORY FOSTER
 7                                                        Counsel for Defendant
                                                          KAY LEE
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10                                                  ORDER

11         IT IS SO ORDERED this 17th day of October, 2016.

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14                                                            Troy L. Nunley
15                                                            United States District Judge

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      STIPULATION AND ORDER REGARDING CONTINUANCE     2
